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  Message



  From:               Glenn, Trey [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                      (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C1F 10FEC3 149420597E6581C2586E25E-GLENN, ONIS]
  Sent:               2/13/2018 4:03:28 AM
  To:                 Jenkins, Brandi [Jenkins.Brandi@epa.gov]
  cc:                 Ashbee, Blake [ashbee.blake@epa.gov]
  Subject:            Re: waters retained by the Corps re: 404 assumption in Florida




  As far as we knowis Florida in agreement with the waters to be retained by the Corps?


  Sent from my iPhone


  On Feb 12, 2018, at 9:36 PM, Jenkins, Brandi <Jenkins.Brandi@epa.gov> wrote:


             What do you think?


             Brandi




             Sent from my iPhone


             Begin forwarded message:


                       From: "Walker, Mary" <walkermary@epa goy>
                       Date: February 12, 2018 at 5:57:47 PM EST
                       To: "Jenkins, Brandi” <Jenkins. Brandi @epa say>
                       Subject: FW: waters retained by the Corps re: 404 assumption in Florida


                        Brandi — See below for some info on waters. If you click on the link, this is a list of
                       waters, but what is missing is what portion of these waters is assumable — and it is this
                       that the Corps is working on now.

                       From: Mcgill, Thomas
                       Sent: Monday, February 12, 2018 5:38 PM
                       To: Walker, Mary <walkermary@epa goy>




                       Subject: waters retained by the Corps re: 404 assumption in Florida
                        Mary — Per our discussion, below is a summary about what we know about waters that
                       would be retained by the Corpsin Florida in regards to 404 assumption in Florida. Please
                        let me know if you have any questions. Tom
                        HG og Ae ae eK oe



                       The 404 assumption package that we expect to be submitted by FDEP must include a
                       Corps-FDEP MOAthat describes that waters the Corps will retain under its jurisdiction.
                       Staff with the Corps Jacksonville District have informed EPA staff that they are
                       delineating waters to be retained using an approach consistent with the minority
                        recommendations made by the Corps in the FACA Assumable Waters Subcommittee
                        report issued in May 2017. Under this approach, the Corps would retain:
                             -     <l--[if lsupportLists]--><!--[endif]-->all section 10 waters as defined by the Rivers
                                   and Harbors Act;
                             -     <l--[if lsupportLists]--><!--[endif]-->all CWA (a)(1) Traditionally Navigable
                                   Waters; and




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                    -    <!--[if !supportLists]--><!--[endif]-->all adjacent wetlands to the above waters
                         “regardless of furthest reach.”

                Traditional Navigable Waters include all waters which are currently used, or were used
                in the past, or may be susceptible to use in interstate or foreign commerce, including all
                waters which are subject to the ebb and flow ofthe tide.”
                The Jacksonville District has posted information on its website about Rivers and Harbors
                Act section 10 waters, including 23 pages of listed waters, with a caveat that these lists
                are not definitive or necessarily inclusive ofall waters. (see
                hito://Awww, sal. usace army.mil/Portals/44/docs/reaulatory/sourcebook/other permit!
                ng factors/Jacksonville’620 District®s? NSection%20 10% 20 Waters. odf and
                htto/   /jwww.sal usace army mil/Portals/44/docs/regulatory/sourcebook/other         oermitt!
                ng factors/20171005 Supplement TolacksonvilleDistrictSection 1UWaters. pdflver=2017-


                EPA staff have recently learned that some Jacksonville Corps District staff do not believe
                they can successfully delineate the waters to be retained before March 2019.
                    -    <!--[if !supportLists]--><!--[endif]-->EPA staff are now exploring options for how
                         the FDEP-Corps MOAcould potentially meet the requirements of describing the
                         retained waters, short of providing a complete description of every water. As
                         our regulations do not explicitly require the level of detail the Corps is pursuing
                         in developing a GIS-based comprehensive identification of specific waters, an
                         approach similar to that taken in New Jersey maysuffice (i.e., The NJ-Corps
                         MOAdescribed a process/criteria for identifying waters to be retained).




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